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Paula Bird, et al.
Plaintiff(s)
vs, Case No.: 1:19-cv-01581-KBJ
William Barr
Defendant
AFFIDAVIT OF SERVICE

 

I, Mark A. Russell, Jr., a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons; Notice, Consent, and Reference of a Civil Action to a
Magistrate Judge; Notice of Right to Consent to Trial before a United States Magistrate Judge; Civil Cover Sheet; and Class
Complaint for Violation of Title VII of the Civil Rights Act of 1964, Americans with Disabilities Act, and Rehabilitation Act in
the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 07/15/2019 at 1:03 PM, I served William P. Barr c/o Attorney General of the United States with the Summons; Notice,
Consent, and Reference of a Civil Action to a Magistrate Judge; Notice of Right to Consent to Trial before a United States
Magistrate Judge; Civil Cover Sheet; and Class Complaint for Violation of Title VII of the Civil Rights Act of 1964, Americans
with Disabilities Act, and Rehabilitation Act at U.S. Department of Justice, 950 Pennsylvania Avenue, NW, Washington, DC
20530 by serving David Burroughs, Agent, authorized to accept service on behalf of the United States Attorney General.

David Burroughs is described herein as:

Gender: Male Race/Skin: Black Age: 46 Weight: 165 Height: 5'10" Hair: Black Glasses: No

I declare under penalty of perjury that this information is true and correct.

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Executed Gia . f= [=] Mark. A. vA It, |

 

Client Ref Number:68280-001
Job #: 1564808

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Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
Paula Bird, et al. )
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)
)
Plaintiff(s) )
i Civil Action No. 19-cv-01581-KBJ
William Barr )
)
)
)
Defendant(s) )
SUMMONS IN A CIVIL ACTION
William P. Barr

To: (Defendant's name and address) 950 Pennsylvania Avenue, NW
° Washington, D.C. 20530-0001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: David Shaffer, Esa.

5012 Aurora Drive
Kensington, Maryland 20895

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 7/10/2019 /s/ Erica Garmendez

 

 

Signature of Clerk or Deputy Clerk

 
